                                  Case 8-14-70548-cec                          Doc 1             Filed 02/13/14                        Entered 02/13/14 18:22:21

B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                          Eastern District of New York                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Stelloh, Valerie L.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-7800
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  37 W. Lakeland Street
  Bay Shore, NY
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         11706
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Suffolk
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                        Case 8-14-70548-cec                    Doc 1         Filed 02/13/14              Entered 02/13/14 18:22:21

B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Stelloh, Valerie L.
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                  Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                 Judge:

                                       Exhibit A                                                                               Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X    /s/ John P. Brooke, Esq                           February 13, 2014
                                                                                            Signature of Attorney for Debtor(s)                    (Date)
                                                                                             John P. Brooke, Esq

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(04/13)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Stelloh, Valerie L.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Valerie L. Stelloh                                                               X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Valerie L. Stelloh

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     February 13, 2014
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ John P. Brooke, Esq
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      John P. Brooke, Esq 4456117                                                              debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      The Brooke Law Firm
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      256C Orinoco Drive
      Brightwaters, NY 11718                                                                   Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                       Email: john@your-bankruptcy.com
      631-397-0042 Fax: 631-239-9213
     Telephone Number
     February 13, 2014
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Valerie L. Stelloh                                                                        Case No.
                                                                                  Debtor(s)           Chapter    7



                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                        Page 2

                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
             deficiency so as to be incapable of realizing and making rational decisions with respect to financial
             responsibilities.);
                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                        Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

             I certify under penalty of perjury that the information provided above is true and correct.

                                                        Signature of Debtor:        /s/ Valerie L. Stelloh
                                                                                    Valerie L. Stelloh
                                                        Date:        February 13, 2014




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                       Eastern District of New York
  In re          Valerie L. Stelloh                                                                             Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                                Chapter                   7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF           ASSETS                 LIABILITIES             OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                          0.00


B - Personal Property                                          Yes            3                   20,180.00


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            1                                            25,644.00


E - Creditors Holding Unsecured                                Yes            1                                                 0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            3                                            33,361.00
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            2                                                                       200.00
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                    1,453.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    16


                                                                        Total Assets              20,180.00


                                                                                          Total Liabilities                59,005.00




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                       Eastern District of New York
  In re           Valerie L. Stelloh                                                                                 Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter                7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)                                                      0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                  0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

              Student Loan Obligations (from Schedule F)                                                          0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                  0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                  0.00

                                                                               TOTAL                              0.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                        200.00

              Average Expenses (from Schedule J, Line 22)                                                     1,453.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                         200.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                  8,644.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                  0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                           33,361.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       42,005.00




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B6A (Official Form 6A) (12/07)


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  In re         Valerie L. Stelloh                                                                              Case No.
                                                                                                       ,
                                                                                         Debtor

                                                             SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                       Husband,    Current Value of
                                                                               Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                      Community Deducting  any Secured
                                                                                                                  Claim or Exemption




                       None




                                                                                                       Sub-Total >               0.00          (Total of this page)

                                                                                                            Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                       (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re         Valerie L. Stelloh                                                                                 Case No.
                                                                                                       ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                            Cash on hand                                                    -                            30.00

2.    Checking, savings or other financial                    Checking account with Capital One                               -                           150.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Household goods and furnishings                                 -                        1,000.00
      including audio, video, and                             in debtor's possession
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    X

7.    Furs and jewelry.                                       Costume jewelry                                                 -                           500.00
                                                              in debtor's possession

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                              Sub-Total >            1,680.00
                                                                                                                  (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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                           Case 8-14-70548-cec                         Doc 1    Filed 02/13/14        Entered 02/13/14 18:22:21

B6B (Official Form 6B) (12/07) - Cont.




  In re         Valerie L. Stelloh                                                                                 Case No.
                                                                                                       ,
                                                                                        Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                     2013 tax refund                                                 -                        1,500.00
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                              Sub-Total >            1,500.00
                                                                                                                  (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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                           Case 8-14-70548-cec                         Doc 1    Filed 02/13/14        Entered 02/13/14 18:22:21

B6B (Official Form 6B) (12/07) - Cont.




  In re         Valerie L. Stelloh                                                                                 Case No.
                                                                                                       ,
                                                                                        Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2010 Lexus HS250h                                                -                     17,000.00
    other vehicles and accessories.                           in debtor's possession

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                              Sub-Total >          17,000.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >         20,180.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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                            Case 8-14-70548-cec                         Doc 1    Filed 02/13/14          Entered 02/13/14 18:22:21

 B6C (Official Form 6C) (4/13)


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   In re         Valerie L. Stelloh                                                                                   Case No.
                                                                                                          ,
                                                                                        Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                        Value of                 Current Value of
                   Description of Property                                         Each Exemption                            Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Cash on Hand
Cash on hand                                                             11 U.S.C. § 522(d)(5)                                          30.00                            30.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking account with Capital One                 11 U.S.C. § 522(d)(5)                                                               150.00                           150.00

Household Goods and Furnishings
Household goods and furnishings                                          11 U.S.C. § 522(d)(3)                                      1,000.00                         1,000.00
in debtor's possession

Furs and Jewelry
Costume jewelry                                                          11 U.S.C. § 522(d)(4)                                        500.00                           500.00
in debtor's possession

Other Liquidated Debts Owing Debtor Including Tax Refund
2013 tax refund                                  11 U.S.C. § 522(d)(5)                                                              1,500.00                         1,500.00




                                                                                                          Total:                    3,180.00                         3,180.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                            Case 8-14-70548-cec                           Doc 1         Filed 02/13/14           Entered 02/13/14 18:22:21

 B6D (Official Form 6D) (12/07)


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   In re         Valerie L. Stelloh                                                                                            Case No.
                                                                                                                  ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                             O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W              NATURE OF LIEN, AND                        I    Q   U                        PORTION, IF
                                                             T   J             DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                           DEDUCTING
           AND ACCOUNT NUMBER                                O                                                             G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                 C                  OF PROPERTY
                                                             R
                                                                                   SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxx xxx7957                                              2013                                                       E
                                                                                                                                D

Lexus Fin. Services                                                  Purchase Money Security
PO Box 5855
Carol Stream, IL 60197-5855                                        2010 Lexus HS250h
                                                                 - in debtor's possession

                                                                        Value $                            17,000.00                         25,644.00               8,644.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                        Subtotal
 0
_____ continuation sheets attached                                                                                                           25,644.00               8,644.00
                                                                                                               (Total of this page)
                                                                                                                          Total              25,644.00               8,644.00
                                                                                                (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/13)


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  In re         Valerie L. Stelloh                                                                                                 Case No.
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
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 B6F (Official Form 6F) (12/07)


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   In re         Valerie L. Stelloh                                                                                      Case No.
                                                                                                                 ,
                                                                                               Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxxxxxxx1165                                                  2013                                                        T   T
                                                                                                                                                E
                                                                                Factoring account-debt buyer                                    D

ACI LLC                                                                         notice only
2420 Sweet Home Rd.                                                         -
ste. 150
Buffalo, NY 14228-2244
                                                                                                                                                                      Unknown
Account No. xx-xxx6068                                                          2013
                                                                                Factoring account-debt buyer
Asset Acceptance Cap. Cor                                                       Notice only
P.O. Box 2036                                                               -
Warren, MI 48090

                                                                                                                                                                      Unknown
Account No. 997860****                                                          2011
                                                                                Installment Loan
Bethpage Fed. Credit Unio
899 South Oyster Bay Road                                                   -
Bethpage, NY 11714

                                                                                                                                                                     25,243.00
Account No. ending in 9619                                                      2010-last used 2012
                                                                                Credit card purchases
Capital One Bank
PO Box 30281                                                                -
Salt Lake City, UT 84130

                                                                                                                                                                         960.00

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                   26,203.00
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Valerie L. Stelloh                                                                                     Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
                   CREDITOR'S NAME,                                     O                                                              O   N   I
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                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                    T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
                                                                                                                                       T   T
Account No. ending in 6708                                                      2006-last used 2013                                        E
                                                                                Credit card purchases                                      D

Capital One Bank USA
PO Box 30281                                                                -
Salt Lake City, UT 84130

                                                                                                                                                                 814.00
Account No. ending in 4275                                                      2011-last used 2013
                                                                                Credit card purchases
Chase
PO Box 15298                                                                -
Wilmington, DE 19850

                                                                                                                                                               1,766.00
Account No.                                                                     2013
                                                                                overdrawn checking account
Chase
PO Box 15298                                                                -
Wilmington, DE 19850

                                                                                                                                                                 169.00
Account No. xxxxxxxxxxxx3970                                                    2013
                                                                                Notice Only
Chase Receivables
1247 Broadway                                                               -
Sonoma, CA 95476

                                                                                                                                                              Unknown
Account No. 444796218048****                                                    2010-2013
                                                                                Credit card purchases
Credit One Bank
PO Box 98873                                                                -
Las Vegas, NV 89193

                                                                                                                                                               1,061.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                               3,810.00
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Valerie L. Stelloh                                                                                        Case No.
                                                                                                                  ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxx8582                                                            2013                                                           E
                                                                                Factoring account-debt buyer                                   D

FirstSource Advantage LLC                                                       notice only
205 Bryant Woods South                                                      -
Buffalo, NY 14228

                                                                                                                                                                  Unknown
Account No. xxxxxx7012                                                          2013
                                                                                Factoring account-debt buyer
Midland Credit Management                                                       notice only
8875 Aero Drive                                                             -
San Diego, CA 92123

                                                                                                                                                                  Unknown
Account No. xxx1960                                                             2013
                                                                                Law office collecting debt
Rubin & Rothman, LLC                                                            Notice only
1787 Veterans Hwy.                                                          -
Suite 32
PO Box 9003
Islandia, NY 11749                                                                                                                                                Unknown
Account No.                                                                     2011-2013
                                                                                Credit card purchases
Webbank/DFS
1 Dell Way                                                                  -
Round Rock, TX 78682

                                                                                                                                                                   3,348.00
Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                   3,348.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                33,361.00


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                            Case 8-14-70548-cec                        Doc 1   Filed 02/13/14        Entered 02/13/14 18:22:21

B6G (Official Form 6G) (12/07)


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  In re             Valerie L. Stelloh                                                                          Case No.
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




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                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Valerie L. Stelloh                                                                      Case No.
                                                                                                 ,
                                                                                   Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR

                  Carol Stelloh                                                        Bethpage Fed. Credit Unio
                  94-20 157th Ave.                                                     899 South Oyster Bay Road
                  Howard Beach, NY 11414                                               Bethpage, NY 11714
                    co-signor for Bethpage account




       0
               continuation sheets attached to Schedule of Codebtors
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Fill in this information to identify your case:

Debtor 1                      Valerie L. Stelloh

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

Case number                                                                                                 Check if this is:
(If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing post-petition chapter 13
                                                                                                               income as of the following date:

Official Form B 6I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                   Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
                                              Employment status
       attach a separate page with                                                                                   Not employed
                                                                         Not employed
       information about additional
       employers.                             Occupation              unemployed
       Include part-time, seasonal, or
       self-employed work.                    Employer's name

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                              How long employed there?           dog walker for friend

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                          For Debtor 1       For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.     $          200.00      $                N/A

3.     Estimate and list monthly overtime pay.                                                 3.    +$             0.00     +$               N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.     $        200.00            $         N/A




Official Form B 6I                                                        Schedule I: Your Income                                                     page 1
                     Case 8-14-70548-cec                 Doc 1        Filed 02/13/14             Entered 02/13/14 18:22:21



Debtor 1    Valerie L. Stelloh                                                                      Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $        200.00         $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               N/A
      5e.    Insurance                                                                       5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               N/A
      5g.    Union dues                                                                      5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $            200.00         $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00     $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00     $               N/A
      8e.    Social Security                                                                 8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00     $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $             200.00 + $              N/A = $           200.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$           0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $          200.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                       Schedule I: Your Income                                                       page 2
                      Case 8-14-70548-cec                       Doc 1         Filed 02/13/14           Entered 02/13/14 18:22:21




Fill in this information to identify your case:

Debtor 1                 Valerie L. Stelloh                                                                   Check if this is:
                                                                                                                    An amended filing
Debtor 2                                                                                                            A supplement showing post-petition chapter 13
(Spouse, if filing)                                                                                                 expenses as of the following date:

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK                                          MM / DD / YYYY

Case number                                                                                                         A separate filing for Debtor 2 because Debtor 2
(If known)                                                                                                          maintains a separate household




Official Form B 6J
Schedule J: Your Expenses                                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:       Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                No
      Do not list Debtor 1 and              Yes. Fill out this information for each   Dependent’s relationship to          Dependent’s         Does dependent
      Debtor 2.                          dependent...........                         Debtor 1 or Debtor 2                 age                 live with you?
      Do not state the dependents'                                                                                                                 No
      names.                                                                                                                                       Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
3.    Do your expenses include                      No
      expenses of people other than
      yourself and your dependents?                 Yes

Part 2:     Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                               Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage payments
      and any rent for the ground or lot.                                                                      4. $                                      0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                                 4a.   $                                    0.00
      4b.   Property, homeowner’s, or renter’s insurance                                                      4b.   $                                    0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                     4c.   $                                    0.00
      4d.   Homeowner’s association or condominium dues                                                       4d.   $                                    0.00
5.    Additional mortgage payments for your residence, such as home equity loans                               5.   $                                    0.00




Official Form B 6J                                                      Schedule J: Your Expenses                                                    page 1
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Debtor 1      Valerie L. Stelloh                                                                                      Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                            6a.                         $                                      0.00
      6b.     Water, sewer, garbage collection                                                          6b.                         $                                      0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                            6c.                         $                                    100.00
      6d.     Other. Specify:                                                                           6d.                         $                                      0.00
7.    Food and housekeeping supplies                                                                     7.                         $                                    200.00
8.    Childcare and children’s education costs                                                           8.                         $                                      0.00
9.    Clothing, laundry, and dry cleaning                                                                9.                         $                                      0.00
10.   Personal care products and services                                                               10.                         $                                     20.00
11.   Medical and dental expenses                                                                       11.                         $                                    100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                      12.                         $                                    400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                13.                         $                                      0.00
14.   Charitable contributions and religious donations                                                  14.                         $                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                              15a.                         $                                      0.00
      15b. Health insurance                                                                            15b.                         $                                      0.00
      15c. Vehicle insurance                                                                           15c.                         $                                    108.00
      15d. Other insurance. Specify:                                                                   15d.                         $                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                          16.                         $                                        0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                  17a.                         $                                    525.00
      17b. Car payments for Vehicle 2                                                                  17b.                         $                                      0.00
      17c. Other. Specify:                                                                             17c.                         $                                      0.00
      17d. Other. Specify:                                                                             17d.                         $                                      0.00
18.   Your payments of alimony, maintenance, and support that you did not report as deducted
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                              18.                         $                                        0.00
19.   Other payments you make to support others who do not live with you.                                                           $                                        0.00
      Specify:                                                                                          19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                                 20a.                         $                                        0.00
      20b. Real estate taxes                                                                           20b.                         $                                        0.00
      20c. Property, homeowner’s, or renter’s insurance                                                20c.                         $                                        0.00
      20d. Maintenance, repair, and upkeep expenses                                                    20d.                         $                                        0.00
      20e. Homeowner’s association or condominium dues                                                 20e.                         $                                        0.00
21.   Other: Specify:                                                                                   21.                         +$                                       0.00
22. Your monthly expenses. Add lines 4 through 21.                                                                            22.       $                          1,453.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                       23a. $                                      200.00
    23b. Copy your monthly expenses from line 22 above.                                                                     23b. -$                                   1,453.00

      23c.    Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                         23c. $                                  -1,253.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of your
      mortgage?
           No.
           Yes. Explain:




Official Form B 6J                                                           Schedule J: Your Expenses                                                                    page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Valerie L. Stelloh                                                                                Case No.
                                                                                     Debtor(s)                Chapter    7



                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
               18      sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date February 13, 2014                                                  Signature   /s/ Valerie L. Stelloh
                                                                                     Valerie L. Stelloh
                                                                                     Debtor

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Valerie L. Stelloh                                                                              Case No.
                                                                                  Debtor(s)                  Chapter       7

                                                      STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                                 DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business
    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $400.00                               2014 YTD: Debtor Self-Employment Income
                          $11,633.00                            2013: Debtor Employment Income
                          $57,023.00                            2012: Debtor Employment Income

               2. Income other than from employment or operation of business
    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE


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B7 (Official Form 7) (04/13)
2
              3. Payments to creditors
      None    Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule
              under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13
              must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
              petition is not filed.)

 NAME AND ADDRESS                                                            DATES OF                                                AMOUNT STILL
     OF CREDITOR                                                             PAYMENTS                        AMOUNT PAID                OWING
 Lexus Fin. Services                                                         Nov. and Dec. 2013, Jan.          $1,575.00              $25,644.40
 PO Box 5855                                                                 2014
 Carol Stream, IL 60197-5855

      None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                 AMOUNT
                                                                             DATES OF                             PAID OR
                                                                             PAYMENTS/                          VALUE OF             AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                TRANSFERS                         TRANSFERS               OWING

      None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
              of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                 DATE OF PAYMENT                 AMOUNT PAID               OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments
      None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
              of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                        NATURE OF            COURT OR AGENCY                           STATUS OR
 AND CASE NUMBER                                                        PROCEEDING           AND LOCATION                              DISPOSITION
 Bethpage FCU v. Valerie L. Stelloh                                     Collection           Supreme Court, Suffolk County             Judgment
 19520-13

      None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                            DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE                 PROPERTY




  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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B7 (Official Form 7) (04/13)
3
              5. Repossessions, foreclosures and returns
    None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
              12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
              the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,     DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN             PROPERTY

              6. Assignments and receiverships
    None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
              a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT               TERMS OF ASSIGNMENT OR SETTLEMENT

    None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                              NAME AND LOCATION
 NAME AND ADDRESS                                                  OF COURT                    DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                               CASE TITLE & NUMBER              ORDER                    PROPERTY

              7. Gifts
    None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                        RELATIONSHIP TO                                        DESCRIPTION AND
 PERSON OR ORGANIZATION                                        DEBTOR, IF ANY                 DATE OF GIFT            VALUE OF GIFT

              8. Losses
    None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                       LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                BY INSURANCE, GIVE PARTICULARS                 DATE OF LOSS

              9. Payments related to debt counseling or bankruptcy
    None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
              immediately preceding the commencement of this case.

                                                                            DATE OF PAYMENT,                             AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                      OR DESCRIPTION AND VALUE
     OF PAYEE                                                                  THAN DEBTOR                                  OF PROPERTY
 The Brooke Law Firm                                                     1/30/14                                    $1,000.00
 256C Orinoco Drive
 Brightwaters, NY 11718




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                                                                            DATE OF PAYMENT,                             AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                      OR DESCRIPTION AND VALUE
     OF PAYEE                                                                   THAN DEBTOR                                OF PROPERTY
 Debtorcc.org                                                            2/3/14                                     $9.95
 372 Summit Ave.
 Jersey City, NJ 07306

              10. Other transfers
    None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                             DATE                          AND VALUE RECEIVED

    None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                        AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                 DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                        TRANSFER(S)            IN PROPERTY

              11. Closed financial accounts
    None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
              must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
              filed, unless the spouses are separated and a joint petition is not filed.)

                                                                           TYPE OF ACCOUNT, LAST FOUR
                                                                           DIGITS OF ACCOUNT NUMBER,                  AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                          AND AMOUNT OF FINAL BALANCE                          OR CLOSING
 Chase Bank USA, NA                                                      last four 1165                               169.57 balance closed in
 PO Box 15298                                                                                                         2013
 Wilmington, DE 19850

              12. Safe deposit boxes
    None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                  DESCRIPTION                  DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                  OF CONTENTS                   SURRENDER, IF ANY

              13. Setoffs
    None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                               AMOUNT OF SETOFF




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              14. Property held for another person
    None      List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY            LOCATION OF PROPERTY

              15. Prior address of debtor
    None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

 ADDRESS                                                                 NAME USED                                  DATES OF OCCUPANCY
 70 Broadway, W. Babylon, NY 11704                                       Valerie L. Stelloh                         2008-2012

              16. Spouses and Former Spouses
    None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
              Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
              the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
              debtor in the community property state.

 NAME

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
              to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

              "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned
              or operated by the debtor, including, but not limited to, disposal sites.

              "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
              pollutant, or contaminant or similar term under an Environmental Law

    None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
              liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
              if known, the Environmental Law:

                                                          NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                   NOTICE                       LAW

    None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                   NOTICE                       LAW

    None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                              STATUS OR DISPOSITION




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              18 . Nature, location and name of business
    None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
              and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
              partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
              six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
              equity securities within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
              six years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
              six years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                            BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                   NATURE OF BUSINESS              ENDING DATES

    None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

              19. Books, records and financial statements
    None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                        DATES SERVICES RENDERED

    None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
              books of account and records, or prepared a financial statement of the debtor.

 NAME                                              ADDRESS                                               DATES SERVICES RENDERED

    None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
              records of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                  ADDRESS

    None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
              was issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                              DATE ISSUED




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              20. Inventories
    None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                 INVENTORY SUPERVISOR                                  (Specify cost, market or other basis)

    None      b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                                NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                              RECORDS

              21 . Current Partners, Officers, Directors and Shareholders
    None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                       NATURE OF INTEREST                           PERCENTAGE OF INTEREST

    None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                       TITLE                            OF STOCK OWNERSHIP

              22 . Former partners, officers, directors and shareholders
    None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

 NAME                                                         ADDRESS                                              DATE OF WITHDRAWAL

    None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                       TITLE                            DATE OF TERMINATION

              23 . Withdrawals from a partnership or distributions by a corporation
    None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
              compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
              preceding the commencement of this case.

 NAME & ADDRESS                                                                                                      AMOUNT OF MONEY
 OF RECIPIENT,                                                          DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                VALUE OF PROPERTY

              24. Tax Consolidation Group.
    None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
              of the case.

 NAME OF PARENT CORPORATION                                                                         TAXPAYER IDENTIFICATION NUMBER (EIN)




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              25. Pension Funds.
    None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as
              an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                      TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                               ******

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date February 13, 2014                                                 Signature   /s/ Valerie L. Stelloh
                                                                                    Valerie L. Stelloh
                                                                                    Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Valerie L. Stelloh                                                                                  Case No.
                                                                                     Debtor(s)                  Chapter     7


                                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                     Describe Property Securing Debt:
 Lexus Fin. Services                                                                  2010 Lexus HS250h
                                                                                      in debtor's possession

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                               Describe Leased Property:                       Lease will be Assumed pursuant to 11
 -NONE-                                                                                                       U.S.C. § 365(p)(2):
                                                                                                                 YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date February 13, 2014                                                  Signature   /s/ Valerie L. Stelloh
                                                                                     Valerie L. Stelloh
                                                                                     Debtor




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                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Valerie L. Stelloh                                                                              Case No.
                                                                                  Debtor(s)                  Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    1,000.00
             Prior to the filing of this statement I have received                                       $                    1,000.00
             Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      February 13, 2014                                                    /s/ John P. Brooke, Esq
                                                                                  John P. Brooke, Esq
                                                                                  The Brooke Law Firm
                                                                                  256C Orinoco Drive
                                                                                  Brightwaters, NY 11718
                                                                                  631-397-0042 Fax: 631-239-9213
                                                                                  john@your-bankruptcy.com




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                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Valerie L. Stelloh                                                                            Case No.
                                                                                    Debtor(s)             Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.


 Date: February 13, 2014                                                 /s/ Valerie L. Stelloh
                                                                         Valerie L. Stelloh
                                                                         Signature of Debtor

 Date: February 13, 2014                                                 /s/ John P. Brooke, Esq
                                                                         Signature of Attorney
                                                                         John P. Brooke, Esq
                                                                         The Brooke Law Firm
                                                                         256C Orinoco Drive
                                                                         Brightwaters, NY 11718
                                                                         631-397-0042 Fax: 631-239-9213




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                   ACI LLC
                   2420 Sweet Home Rd.
                   ste. 150
                   Buffalo, NY 14228-2244


                   Asset Acceptance Cap. Cor
                   P.O. Box 2036
                   Warren, MI 48090


                   Bethpage Fed. Credit Unio
                   899 South Oyster Bay Road
                   Bethpage, NY 11714


                   Capital One Bank
                   PO Box 30281
                   Salt Lake City, UT 84130


                   Capital One Bank USA
                   PO Box 30281
                   Salt Lake City, UT 84130


                   Carol Stelloh
                   94-20 157th Ave.
                   Howard Beach, NY 11414


                   Chase
                   PO Box 15298
                   Wilmington, DE 19850


                   Chase Receivables
                   1247 Broadway
                   Sonoma, CA 95476


                   Credit One Bank
                   PO Box 98873
                   Las Vegas, NV 89193


                   FirstSource Advantage LLC
                   205 Bryant Woods South
                   Buffalo, NY 14228


                   Lexus Fin. Services
                   PO Box 5855
                   Carol Stream, IL 60197-5855
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               Midland Credit Management
               8875 Aero Drive
               San Diego, CA 92123


               Rubin & Rothman, LLC
               1787 Veterans Hwy.
               Suite 32
               PO Box 9003
               Islandia, NY 11749


               Webbank/DFS
               1 Dell Way
               Round Rock, TX 78682
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  B22A (Official Form 22A) (Chapter 7) (04/13)
 In re     Valerie L. Stelloh
                                      Debtor(s)                                      According to the information required to be entered on this statement
 Case Number:                                                                          (check one box as directed in Part I, III, or VI of this statement):
                                 (If known)                                                   The presumption arises.
                                                                                              The presumption does not arise.
                                                                                              The presumption is temporarily inapplicable.


                                CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                           AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
believe this is required by § 707(b)(2)(C).

                                                Part I. MILITARY AND NON-CONSUMER DEBTORS
             Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
             Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in
             Part VIII. Do not complete any of the remaining parts of this statement.
    1A
                Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined
             in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C.
             § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
             Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part
    1B       VIII. Do not complete any of the remaining parts of this statement.
                Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
             Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the
             Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after
             September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. §
             901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense
             activity and for 540 days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes
             and complete any required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The
             presumption is temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your
             exclusion period you are not required to complete the balance of this form, but you must complete the form no later than 14
             days after the date on which your exclusion period ends, unless the time for filing a motion raising the means test presumption
             expires in your case before your exclusion period ends.
                Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I
    1C       declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed
             Forces or the National Guard

                                      a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                      I remain on active duty /or/
                                                      I was released from active duty on        , which is less than 540 days before this bankruptcy case was
                                      filed;

                                                   OR

                                      b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                             I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                           540 days before this bankruptcy case was filed.




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  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                           2

                        Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
             a.     Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
             b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of
                  perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than
     2            for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's
                  Income") for Lines 3-11.
             c.     Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                  ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             d.     Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             All figures must reflect average monthly income received from all sources, derived during the            Column A          Column B
             six calendar months prior to filing the bankruptcy case, ending on the last day of the month
             before the filing. If the amount of monthly income varied during the six months, you must                 Debtor's          Spouse's
             divide the six-month total by six, and enter the result on the appropriate line.                          Income            Income

     3       Gross wages, salary, tips, bonuses, overtime, commissions.                                         $          200.00 $
             Income from the operation of a business, profession or farm. Subtract Line b from Line a
             and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
             business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
             not enter a number less than zero. Do not include any part of the business expenses entered
     4       on Line b as a deduction in Part V.
                                                                        Debtor                Spouse
              a.    Gross receipts                              $                0.00 $
              b.    Ordinary and necessary business expenses $                   0.00 $
              c.    Business income                             Subtract Line b from Line a                     $             0.00 $
             Rent and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part V.
                                                                      Debtor                Spouse
     5
              a.    Gross receipts                              $               0.00 $
              b.    Ordinary and necessary operating            $               0.00 $
                    expenses
              c.    Rent and other real property income         Subtract Line b from Line a                $                  0.00 $
     6       Interest, dividends, and royalties.                                                                $             0.00 $
     7       Pension and retirement income.                                                                     $             0.00 $
             Any amounts paid by another person or entity, on a regular basis, for the household
             expenses of the debtor or the debtor's dependents, including child support paid for that
     8       purpose. Do not include alimony or separate maintenance payments or amounts paid by your
             spouse if Column B is completed. Each regular payment should be reported in only one column;
             if a payment is listed in Column A, do not report that payment in Column B.                    $                 0.00 $
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security
              Act                                    Debtor $                     0.00 Spouse $                 $             0.00 $
             Income from all other sources. Specify source and amount. If necessary, list additional
             sources on a separate page. Do not include alimony or separate maintenance payments paid
             by your spouse if Column B is completed, but include all other payments of alimony or
             separate maintenance. Do not include any benefits received under the Social Security Act or
             payments received as a victim of a war crime, crime against humanity, or as a victim of
    10       international or domestic terrorism.
                                                                      Debtor                  Spouse
              a.                                               $                      $
              b.                                               $                      $
             Total and enter on Line 10                                                                         $             0.00 $



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    11       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and,
             if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                      $       200.00 $
             Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line
    12       11, Column A to Line 11, Column B, and enter the total. If Column B has not been completed,
             enter the amount from Line 11, Column A.                                                               $                          200.00

                                                Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12
             and enter the result.                                                                                                 $          2,400.00
             Applicable median family income. Enter the median family income for the applicable state and household size.
    14       (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
              a. Enter debtor's state of residence:                   NY        b. Enter debtor's household size:       1          $        47,414.00
             Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15           The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at
                 the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)
                         Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16       Enter the amount from Line 12.                                                                                        $
             Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line
             11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
             dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
             spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
             amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17       not check box at Line 2.c, enter zero.
              a.                                                                              $
              b.                                                                              $
              c.                                                                              $
              d.                                                                              $
             Total and enter on Line 17                                                                                            $
    18       Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                         Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                  Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
             Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is
   19A       available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support.                                                                       $
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
             who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
             older. (The applicable number of persons in each age category is the number in that category that would currently
             be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
   19B
             you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
             Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in
             Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                         Persons under 65 years of age                         Persons 65 years of age or older
              a1.     Allowance per person                            a2.     Allowance per person
              b1.     Number of persons                               b2.     Number of persons
              c1.     Subtotal                                        c2.     Subtotal                                         $




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             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
             Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   20A       available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support.                                                                          $
             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   20B       debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B.
             Do not enter an amount less than zero.
              a.       IRS Housing and Utilities Standards; mortgage/rental expense $
              b.       Average Monthly Payment for any debts secured by your
                       home, if any, as stated in Line 42                           $
              c.       Net mortgage/rental expense                                  Subtract Line b from Line a.                  $
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
             20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                  $
             Local Standards: transportation; vehicle operation/public transportation expense.
             You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating
             a vehicle and regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
             included as a contribution to your household expenses in Line 8.
   22A
                   0     1        2 or more.
             If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)      $
             Local Standards: transportation; additional public transportation expense. If you pay the operating
             expenses for a vehicle and also use public transportation, and you contend that you are entitled to an additional
   22B       deduction for you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS
             Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the
             bankruptcy court.)                                                                                                $
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.)
                   1     2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
             Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a
             and enter the result in Line 23. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                  $
                       Average Monthly Payment for any debts secured by Vehicle
              b.       1, as stated in Line 42                                        $
              c.       Net ownership/lease expense for Vehicle 1                      Subtract Line b from Line a.                $
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 23.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
    24       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a
             and enter the result in Line 24. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                  $
                       Average Monthly Payment for any debts secured by Vehicle
              b.       2, as stated in Line 42                                        $
              c.       Net ownership/lease expense for Vehicle 2                      Subtract Line b from Line a.                $


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             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
    25       federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes,
             social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                  $
             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
    26       deductions that are required for your employment, such as retirement contributions, union dues, and uniform
             costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                                   $
             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
    27       term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life
             or for any other form of insurance.                                                                                    $
             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    28       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
             include payments on past due obligations included in Line 44.                                                          $
             Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
    29       Enter the total average monthly amount that you actually expend for education that is a condition of employment
             and for education that is required for a physically or mentally challenged dependent child for whom no public
             education providing similar services is available.                                                                     $

    30       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
             childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.          $
             Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
    31       health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
             insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
             include payments for health insurance or health savings accounts listed in Line 34.                                    $
             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    32       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
             pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health
             and welfare or that of your dependents. Do not include any amount previously deducted.                                $
    33       Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                    $

                                             Subpart B: Additional Living Expense Deductions
                                     Note: Do not include any expenses that you have listed in Lines 19-32
             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses
             in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
             dependents.
    34
              a.         Health Insurance                                     $
              b.         Disability Insurance                                 $
              c.         Health Savings Account                               $                                                     $
             Total and enter on Line 34.
             If you do not actually expend this total amount, state your actual total average monthly expenditures in the
             space below:
             $
             Continued contributions to the care of household or family members. Enter the total average actual monthly
    35       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
             ill, or disabled member of your household or member of your immediate family who is unable to pay for such
             expenses.                                                                                                           $
             Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    36       actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
             other applicable federal law. The nature of these expenses is required to be kept confidential by the court.           $
             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    37       Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your
             case trustee with documentation of your actual expenses, and you must demonstrate that the additional
             amount claimed is reasonable and necessary.                                                                            $




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                Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or secondary
       38       school by your dependent children less than 18 years of age. You must provide your case trustee with
                documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                necessary and not already accounted for in the IRS Standards.                                                                        $
                Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
                expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
       39       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
                or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
                reasonable and necessary.                                                                                      $

       40       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash
                or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                       $
       41       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                                           $

                                                                  Subpart C: Deductions for Debt Payment
                Future payments on secured claims. For each of your debts that is secured by an interest in property that you
                own, list the name of the creditor, identify the property securing the debt, state the Average Monthly Payment,
       42       and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
                amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
                bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
                Average Monthly Payments on Line 42.
                      Name of Creditor                   Property Securing the Debt               Average Monthly Does payment
                                                                                                          Payment include taxes
                                                                                                                    or insurance?
                  a.                                                                            $                      yes no
                                                                                                                          Total: Add Lines           $
                Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
                motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
       43       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
                payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
                sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
                the following chart. If necessary, list additional entries on a separate page.
                       Name of Creditor                   Property Securing the Debt                  1/60th of the Cure Amount
                  a.                                                                             $
                                                                                                                 Total: Add Lines   $
                Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
       44       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
                Do not include current obligations, such as those set out in Line 28.                                                                $
                Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the following
                chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

                 a.        Projected average monthly chapter 13 plan payment.                  $
       45        b.        Current multiplier for your district as determined under schedules
                           issued by the Executive Office for United States Trustees. (This
                           information is available at www.usdoj.gov/ust/ or from the clerk of
                           the bankruptcy court.)                                              x
                 c.        Average monthly administrative expense of chapter 13 case           Total: Multiply Lines a and b                         $
       46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                           $

                                                                 Subpart D: Total Deductions from Income
       47       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                          $

                                               Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
       48       Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                               $
       49       Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                    $
*   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment .


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       50       Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                                                  $

       51       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter
                the result.                                                                                                                                       $
                Initial presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than $7,475*. Check the box for "The presumption does not arise" at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
       52          The amount set forth on Line 51 is more than $12,475* Check the box for "The presumption arises" at the top of page 1 of this
                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                   The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines 53 through
                55).
       53       Enter the amount of your total non-priority unsecured debt                                                                                        $
       54       Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                            $
                Secondary presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of
       55       page 1 of this statement, and complete the verification in Part VIII.
                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the
                top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                             Part VII. ADDITIONAL EXPENSE CLAIMS
                Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
                of you and your family and that you contend should be an additional deduction from your current monthly income under §
                707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                each item. Total the expenses.
       56
                         Expense Description                                                                                                         Monthly Amount
                 a.                                                                                                           $
                 b.                                                                                                           $
                 c.                                                                                                           $
                 d.                                                                                                           $
                                                                            Total: Add Lines a, b, c, and d                   $

                                                                            Part VIII. VERIFICATION
                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both
                debtors must sign.)
       57                     Date: February 13, 2014                                     Signature: /s/ Valerie L. Stelloh
                                                                                                        Valerie L. Stelloh
                                                                                                                   (Debtor)




*
    Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                     UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF NEW YORK


                                                        STATEMENT PURSUANT TO LOCAL
                                                          BANKRUPTCY RULE 1073-2(b)

 DEBTOR(S):                  Valerie L. Stelloh                                                         CASE NO.:.

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii)
are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v)
are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or
(vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included
in the property of another estate under 11 U.S.C. § 541(a).]

    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:


1. CASE NO.:                     JUDGE:                   DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                     JUDGE:                   DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                     JUDGE:                   DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
                                             (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may
not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                  Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time,
except as indicated elsewhere on this form.


 /s/ John P. Brooke, Esq
 John P. Brooke, Esq
 Signature of Debtor's Attorney                                                       Signature of Pro Se Debtor/Petitioner
 The Brooke Law Firm
 256C Orinoco Drive
 Brightwaters, NY 11718
 631-397-0042 Fax:631-239-9213                                                        Signature of Pro Se Joint Debtor/Petitioner


                                                                                      Mailing Address of Debtor/Petitioner


                                                                                      City, State, Zip Code


                                                                          Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




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